      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 1 of 37




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
                            WESTERN DIVISION


MAURA O'NEILL, AS ADMINISTRATOR OF
THE ESTATE OF MADELYN E. LINSENMEIR,
                           PLAINTIFF

V.                                        CIVIL ACTION NO. 3:20-CV-30036

CITY OF SPRINGFIELD, MOISES ZANAZANI-    LEAVE TO FILE GRANTED ON
AN, REMINGTON MCNABB, SHEILA RODRI-           JANUARY 5, 2024
GUEZ, HAMPDEN COUNTY SHERIFF’S DE-
PARTMENT, EILEEN BARRETT, AND
MAUREEN COUTURE,
                          DEFENDANTS


                   MEMORANDUM OF LAW IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT OF THE DEFENDANTS, HAMPDEN COUNTY SHER-
        IFF’S DEPARTMENT, EILEEN BARRETT, AND MAUREEN COUTURE
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 2 of 37




                             SUMMARY STATEMENT

      Madelyn Linsenmeir (“Madelyn”) was an inmate at the Western Massachu-

setts Regional Women’s Correctional Center (the “WCC”) for less than four days,

from the afternoon of Sunday, September 30, 2018 to the morning of Thursday, Oc-

tober 4, 2018, when WCC staff discovered she was in distress and immediately

called for an ambulance to transport her to the Baystate Medical Center Emergency

Room. Tragically, Madelyn died at Baystate on Sunday, October 7, 2018, from com-

plications of infective endocarditis, brought on by long-term heroin use.

      In Count II of the Amended Complaint, the plaintiff charges the Hampden

County Sheriff’s Department (the “HCSD”), which operates the WCC, with violation

of Title II of the Americans with Disability Act (“ADA”), alleging that HCSD per-

sonnel denied Madelyn access to medical care, that the medical care Madelyn did

receive was inadequate, and that the HCSD refused to make a reasonable accom-

modation for Madelyn by providing her with medically-adequate detoxification pro-

gram. The ADA claim fails because it is undisputed that WCC medical staff provid-

ed extensive examination and appropriate treatment for Madelyn’s reasonably dis-

cernable medical complaints, Madelyn had numerous opportunities to raise addi-

tional medical complaints and did not, Madelyn never experienced problematic

withdrawal symptoms, and Madelyn did not request another course of treatment as

an accommodation.

      In Count III, the plaintiff charges two WCC staff, correctional officer Eileen

Barrett and registered nurse Maureen Couture, with deliberate indifference to



                                          1
       Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 3 of 37




Madelyn’s serious medical needs. The basis of the claim against Barrett is that she

did not immediately notify the WCC’s medical staff when Madelyn mentioned that

she had pain in her chest in response to medical screening questions during the

booking process, but instead personally escorted Madelyn to the medical depart-

ment for her medical screening immediately after the intake procedure. The basis of

the claim against Couture is that she failed to take vitals or send Madelyn to the

hospital after a report from an officer that Madelyn had stumbled on the stairs on

the way up to the medical department to provide a urine sample. Based on the un-

disputed facts, including the videos of the two encounters, a reasonable trier of fact

could not find that either Barrett’s or Couture’s conduct rose to the level of deliber-

ate indifference and Barrett and Couture are both entitled to qualified immunity as

to Count III.

      In Count IV, the plaintiff charges Barrett and Couture with violation of the

Massachusetts Wrongful Death Statute. This claim fails for the same reasons as

Count III and the defendants are entitled to common law, good faith immunity.

                           BRIEF SUMMARY OF FACTS

      After battling Opiate Use Disorder for nearly half her life, Madelyn Linsen-

meir walked out of a treatment program in Vermont in August of 2018 and, for the

next forty days, her whereabouts were unknown. (SOF, ¶¶ 6, 8-10, 12-13.) On Sep-

tember 29, 2018, Madelyn was arrested by the Springfield, Massachusetts Police

and transferred to the Western Massachusetts Regional Women’s Correctional Cen-

ter (the “WCC”) the next day. (SOF, ¶¶ 16, 21.) After less than four days at the



                                           2
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 4 of 37




WCC, WCC staff found Madelyn nearly unresponsive in her bed and had her rushed

to the hospital, where she died three days later from complications of infective en-

docarditis. (SOF, ¶¶122, 124-126.)

      Although Madelyn had complained of chest pain to both her family and the

Springfield Police in the days prior to her arrival at the WCC, it is undisputed that

neither her family nor the Springfield Police informed anyone at the WCC about

these complaints, and WCC staff remained completely in the dark as to this history

for the duration of her stay at the WCC. (SOF, ¶¶24-26, 29-32.) Whatever the rea-

son, Madelyn stopped complaining about her condition even before she arrived at

the WCC; she did not complain to the police or her fellow detainee on the way over

to the WCC from the police department. (SOF, ¶¶26-28.) She did not complain to

her lawyer at court on her first full day in HCSD custody. (SOF, ¶¶71, 75.)

      Upon arrival at the WCC on September 30, 2018, Madelyn first went through

the intake procedure, conducted by Barrett, including answering a series of ques-

tions from Barrett. (SOF, ¶33.) When asked if she was experiencing pain, Barrett

recorded in the intake software that Madelyn answered “Yes,” identifying the pain

as located in her leg and in her torso and back. (SOF, ¶¶34,35.) The option provided

to Barrett by the software was “torso (chest, back)” and that is the option Barrett

checked. (SOF, ¶36.) The interview is recorded on security video. (SOF, ¶39.)

      After the intake interview was complete, Barrett allowed Madelyn to shower,

provided her with a meal and beverage, and then escorted her to the Medical De-

partment for a full medical examination conducted by two nurses. (SOF, ¶¶40, 41,



                                          3
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 5 of 37




43, 44-67.) There is no allegation or evidence that Madelyn complained of chest pain

or difficulty breathing to either of these two nurses. (SOF, ¶67.)

      Due to Madelyn’s report of heavy alcohol use, the WCC nurses placed her on

the WCC’s Alcohol Withdrawal Protocol, which treats the danger of what could be

life-threatening alcohol withdrawal with Librium. (SOF, ¶¶46, 60-61.) Librium is

also useful in alleviating the unpleasant effects of opiate withdrawal. (SOF, ¶63.)

Madelyn was given a stat dose of Librium to proactively treat the threat of with-

drawal. (SOF, ¶¶49, 51, 65.)

      On October 2, 2018, Madelyn was called from her housing unit to the Medical

Department to give a urine sample for an STD test. (SOF, ¶87.) On her way up to

medical, escorted by correctional officer Gina Walters, Madelyn stumbled and then

sat down on the stairs. (SOF, ¶89.) Walters remained with Madelyn and then as-

sisted her the rest of the way to the Medical Department by holding her arm. (SOF,

¶90.) This incident was captured on security video. (SOF, ¶¶89-90.) Walters did not

feel the situation was serious enough to radio for support. (SOF, ¶92.)

      Upon arriving at the Medical Department, Madelyn was met by two nurses,

Alexandra Russ and Couture. (SOF, ¶93.) Although Walters could not recall if she

told Couture about Madelyn’s fall on the stairs, viewing the facts in the light most

favorable to the plaintiff, we must assume she did. (SOF, ¶96.) Upon arriving in

Medical, Madelyn took a seat. After some brief conversation during which Couture

gestures toward the bathroom where Madelyn is to produce the urine sample, Cou-

ture then approaches Madelyn and leans up against the wall facing her. (SOF, ¶99.)



                                           4
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 6 of 37




Madelyn then eases back in her chair and the two proceed to converse for about five

and a half minutes, during which time Madelyn drinks a cup of water. (SOF, ¶¶100-

102, 104, 106.) After Madelyn finishes the water, Couture directs Madelyn to the

bathroom and she gets up, enters the bathroom, and when she emerges, produces a

cup containing her urine sample. (SOF, ¶¶108, 109, 112.) Couture then accompanies

Madelyn to the exit of the Medical Department and Madelyn returns to her housing

unit. (SOF, ¶¶113-115.) Again, this entire interaction was captured on security vid-

eo. (SOF, ¶¶93-115.)

      On October 3, 2018, the day before she is rushed to the hospital, Madelyn is

seen on security video moving about her housing unit and attending the orientation

presentation for new inmates. (SOF, ¶116.) Madelyn appears to be paying attention

to the presentation and is seen reading and marking up paperwork that was pro-

vided to her as part of the orientation. (SOF, ¶¶118-119.)

      In 2018, prior to the advent of full Medically Assisted Treatment (MAT) pro-

grams in Massachusetts Sheriffs’ Departments, the HCSD was already providing a

comprehensive withdrawal regimen, involving numerous Policies and Procedures

and Nursing Protocols. (SOF, ¶¶127-132.) This regimen included the use of Libri-

um to treat alcohol detoxification and MAT drugs, including methadone and bu-

prenorphine, to address opiate withdrawal. (SOF, ¶¶62, 128-131.) The availability

of buprenorphine was not limited to inmates satisfying specific criteria, such as al-

ready having a prescription for buprenorphine, but was also available for any in-

mate showing moderate or greater withdrawal through a withdrawal scale assess-



                                          5
         Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 7 of 37




ment or anyone exhibiting symptoms that recommend MAT intervention. (SOF,

¶128.)

                          SUMMARY JUDGMENT STANDARD

         Under Rule 56(c) of the Federal Rules of Civil Procedure, summary judgment

is appropriate where, after drawing all reasonable inferences in favor of the

non-moving party, there is no genuine issue of material fact for trial. See Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 249, (1986); Pagano v. Frank, 983 F.2d 343, 347

(1st Cir. 1993). A party seeking summary judgment in federal court may rely on

those portions of the pleadings, depositions, answers to interrogatories, affidavits,

and admissions on file that demonstrate the absence of a genuine material fact and

show that they are entitled to judgment as a matter of law. See Fed. R. Civ. Pro.

56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). A fact is material if, based

upon the substantive law at issue, it might affect the outcome of the case. See An-

derson, 477 U.S. at 248; Mack v. Great Atl. and Pac. Tea Co., Inc., 871 F.2d 179, 181

(1st Cir. 1989). A material issue is “genuine” if there is sufficient evidence to permit

a reasonable trier of fact to resolve the issue in the non-moving party's favor. See

Anderson, 477 U.S. at 248; Boston Athletic Ass’n v. Sullivan, 867 F.2d 22, 24 (1st

Cir. 1989). The moving party bears the initial burden of demonstrating an absence

of evidence to support essential elements of the opposing party’s claims. See Ce-

lotex, 477 U.S. at 325.

         The burden then shifts to the non-moving party to set forth specific facts and

competent summary judgment evidence to raise a genuine issue of material fact on



                                            6
         Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 8 of 37




each essential element of any claim on which she bears the burden of proof at trial.

Fed. R. Civ. Pro. 56(c). The non-moving party may not rest on mere allegations or

denials in her pleadings but must produce affirmative evidence and specific facts.

Anderson, 477 U.S. at 256. She meets this burden only if she shows that a “reason-

able jury could return a verdict for the non-moving party.” Id. at 248. A mere “scin-

tilla of evidence” will not preclude granting a motion for summary judgment. Id. at

252.

                                           ARGUMENT

    I.      Barrett and Couture are entitled to Summary Judgment on Count III, al-
            leging unconstitutional failure to provide medical care in violation of 42
            U.S.C. §1983.

            a. The standard for a 42 U.S.C. §1983 claim for denial of medical care

         The standard the plaintiff must meet to prevail on her claims against Barrett

and Couture is a high one. “[T]o succeed in an Eighth Amendment claim un-

der §1983 claim based on denied . . . medical care,” a plaintiff must prove (1) an ob-

jectively serious medical need and (2) that defendant exhibited “deliberate indiffer-

ence” to the prisoner's needs. Lopes v. Riendeau, 177 F. Supp. 3d 634, 657 (D.Mass.

2016) (citing Kosilek v. Spencer, 774 F.3d 63, 82 (1st Cir. 2014)) (emphasis added).1




1
 Madelyn was a pretrial detainee at the time of her incarceration and death. “Fourteenth Amend-
ment substantive due process requires the government to provide” adequate medical care to pretrial
detainees. Miranda-Rivera v. Toledo-Dávila, 813 F.3d 64, 74 (1st Cir. 2016) (citing City of Revere v.
Mass. Gen. Hosp., 463 U.S. 239 (1983)). While the “boundaries of this duty have not been plotted ex-
actly . . . it is clear that they extend at least as far as the protection that the Eighth Amendment
gives to a convicted prisoner.” Id.; see also Burrell v. Hampshire Cty., 307 F.3d 1, 7 (1st Cir. 2002)
(noting that “the standard to be applied” in Fourteenth Amendment cases by pretrial detainees “is
the same as that used in Eighth Amendment cases”). Government officials violate the Eighth or
Fourteenth Amendments “if they display deliberate indifference to a prisoner’s [or pretrial detain-
ee’s] serious medical needs.” Miranda-Rivera, 813 F.3d at 74 (internal quotations omitted).

                                                  7
       Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 9 of 37




      “Deliberate indifference” requires that defendant be subjectively “aware of

facts from which the inference could be drawn that a substantial risk of serious

harm exists, and [she] must also draw the inference.” Ruiz-Rosa v. Rullan, 485 F.3d

150, 156 (1st Cir. 2007) (quoting Farmer v. Brennan, 511 U.S. 825, 837,

(1994)). The standard encompasses a “narrow band of conduct”: subpar care

amounting to negligence or even malpractice does not give rise to a constitutional

claim, Feeney v. Corr. Med. Servs., Inc., 464 F.3d 158, 162 (1st Cir. 2006); rather,

the treatment provided must have been so inadequate as “to constitute ‘an unneces-

sary and wanton infliction of pain’ or to be ‘repugnant to the conscience of man-

kind,’” Estelle v. Gamble 429 U.S. 97, 105-106 (1976); see also Alsina-Ortiz v. Laboy,

400 F.3d 77, 82 (1st Cir. 2005) (“Willful blindness and deliberate indifference are

not mere negligence; these concepts are directed at a form of scienter in which the

official culpably ignores or turns away from what is otherwise apparent.”).

“[D]eliberate indifference in this context may be shown by the denial of needed care

as punishment and by decisions about medical care made recklessly with ‘actual

knowledge of impending harm, easily preventable.’” Leavitt v. Corr. Med. Servs., 645

F.3d 484, 497 (1st Cir. 2011) (citing Ruiz-Rosa, 485 F.3d at 156). See also Watson v.

Caton, 984 F.2d 537, 540 (1st Cir. 1993) (“The courts have consistently refused . . .

to conclude that simple medical malpractice rises to the level of cruel and unusual

punishment.”). The requisite intent can be shown where treatment is denied “in or-

der to punish the inmate” or with “wanton disregard” for the inmate’s health. Perry




                                           8
        Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 10 of 37




v. Roy, 782 F.3d 73, 79 (1st Cir. 2015) (internal quotation marks and citations omit-

ted).

        The operative question is whether each individual provider, through their

“own individual actions, has violated the Constitution,” not whether they are collec-

tively liable or whether HCSD as an entity is liable. Air Sunshine, Inc. v. Carl, 663

F.3d 27, 33 (1st Cir. 2011) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009)). The

court thus must address whether each individual HCSD personnel’s care was “so

clearly inadequate as to amount to a refusal to provide essential care.” Zingg v.

Groblewski, 907 F.3d 630, 635 (1st Cir. 2018). Based on all of the evidence, no rea-

sonable jury could find that Barrett or Couture drew the inference that a substan-

tial risk of serious harm to Madelyn existed and then was indifferent to the point of

wantonly inflicting pain on Madelyn.

            b. No reasonable jury could find, on the undisputed facts, that either Bar-
               rett or Couture wantonly inflicted harm on Madelyn.

        Because this is a summary judgment motion, the Court must view the facts

in the light most favorable to the plaintiff and draw all reasonable inferences in her

favor. See Anderson, 477 U.S. at 249. Since the word “chest” is part of the item Bar-

rett checked on the Medical Screening sheet (SOF ¶36) and Madelyn did have a re-

cent history of chest pain (SOF ¶17), a reasonable jury could conclude Madelyn did

answer Barrett’s inquiry by stating that the location of her pain was in the chest. In

light of Madelyn’s later diagnosis, a jury could find this constituted a serious medi-

cal need.

        The plaintiff cannot prevail on the subjective element of her claim, however.

                                            9
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 11 of 37




First, there is simply no evidence that Barrett understood there existed a substan-

tial risk of serious harm to Madelyn and yet proceeded in a manner that constituted

a wanton infliction of pain. Barrett would not have known of Madelyn’s history of

chest pain at that time of the intake because no one reported this to the WCC. (SOF

¶¶25, 29-32.)

      Second, the jury will have the benefit of a video of the entire interview (SOF

¶39 and cited video evidence.) There is nothing about Madelyn’s demeanor in the

video that could be seen as obviously communicating to Barrett that she is at risk of

serious harm. Indeed, based on Madelyn’s demeanor, it is impossible to pinpoint

when, on the video, Madelyn makes the complaint of chest pain. Likewise, there is

nothing about Barrett’s demeanor on the video to suggest she is wantonly inflicting

pain on Madelyn by ignoring her grave medical complaint. Even without sound, it is

obvious from Barrett’s demeanor – her facial expressions and hand gestures – that

Barrett is treating Madelyn in a polite and friendly manner.

      Third, everything Barrett did after the interview was to make Madelyn more

comfortable. Barrett provides her with a meal and a drink. (SOF, ¶40.) Barrett al-

lows Madelyn to shower, something that seemed to result in an immediate im-

provement of her demeanor. (SOF, ¶¶41-42.) Finally, Barrett personally escorts

Madelyn to the Medical Department so that she can be seen for her intake health

screen. (SOF, ¶43.)

      While on these facts, the plaintiff could arguably make a showing that Bar-

rett’s failure to take immediate action in response to Linsenmeir’s complaint of



                                         10
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 12 of 37




chest pain was negligent, “[a] finding of deliberate indifference requires more than a

showing of negligence.” Page v. Sharpe, 487 F.2d 567, 569 (1st Cir. 1973) (“Mere

negligence, in the absence of conduct which shocks the conscience, in giving or fail-

ing to supply medical treatment to prisoners will not suffice.”) On the undisputed

facts, no reasonable jury could find Barrett deliberately indifferent to Madelyn’s se-

rious medical need and Barrett is entitled to summary judgment in her favor on

Count III.

      Likewise, no reasonable jury could find Maureen Couture deliberately indif-

ferent to Madelyn’s serious medical need. Viewing the facts in the light most favor-

able to the plaintiff, the jury could conclude that Madelyn’s fall in the stairwell was

symptomatic of her underlying, life-threatening condition. Although the testimony

is not clear, a jury could conclude that Walters did tell Couture that Madelyn had

just stumbled and gone down while climbing the stairs.

      A reasonable jury could not conclude, however, that a report from Walters

would have made Couture subjectively aware of Madelyn’s underlying, serious med-

ical condition. Walters did not perceive the event as serious enough to radio for sup-

port from the stairwell and there is no allegation that Walters was deliberately in-

different. (SOF, ¶92.) Walters only stayed in the Medical Department for about 15

seconds, so any report of the incident in the stairwell would have been very brief.

(SOF, ¶95.) Walters is visible on video as she drops Madelyn off in Medical, and she

says very little. (SOF, ¶95.) So, to the extent there was a report at all, it was far

from an impassioned account of a disturbing event. The jury’s impression of the vid-



                                           11
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 13 of 37




eo from the stairwell is irrelevant, because it is undisputed that Couture did not

witness the event. (SOF, ¶89.)

      The conversation between Madelyn and Couture is all on video. (SOF, ¶¶100-

109.) As in the recordings from Intake, there is nothing about Madelyn’s demeanor

to suggest that she is communicating a serious medical need to Couture during

their conversation. (SOF, ¶101.) Madelyn is composed and says very little. (SOF,

¶101.) She is not distraught, tearful, pointing to her chest, or in any other way

communicating a serious medical need and no reasonable jury could interpret the

video that way. (SOF, ¶101.) When the conversation finishes, Madelyn produces a

urine sample and then leaves the Medical Department under her own power. (SOF,

¶¶112-115.) The plaintiff alleges that, while Madelyn was in the bathroom, Couture

“spoke with other staff and made hand gestures to her chest.” (Amend. Compl. ¶73.)

This is not supported by the video. (SOF, ¶¶93-114.)

      As with Barrett, Couture would have had no knowledge of Madelyn’s recent

health complaints, as it is undisputed no one told the WCC staff prior to or upon

Madelyn’s arrival. (SOF, ¶¶25, 29-32.) Even if Couture was able to recall the details

of her Intake Admission Screen of Madelyn, which took place two days prior, that

would not be significant. (SOF, ¶55.) Madelyn made no report of chest pain at that

visit, her vitals were largely normal, and she denied any acute or chronic health

problems, chronic fever, cough, weight loss, or loss of appetite. (SOF, ¶¶56-58.) Cou-

ture’s knowledge that Madelyn had an injured knee would not have been a cause for

alarm. (SOF, ¶62.) To the contrary, it would provide a fairly benign explanation for



                                          12
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 14 of 37




Madelyn missing a step on her way up.

      Plaintiff may have sufficient evidence to show that Couture received a report

of Madelyn tripping or falling on the stairs a few minutes prior to her arrival in

medical and that Couture did not take any steps in response to this report to ade-

quately ascertain Madelyn’s health status. While these facts might support a find-

ing that Couture did not provide adequate care to Madelyn, “[s]ubstandard care,

malpractice, negligence, inadvertent failure to provide care, and disagreement as to

the appropriate course of treatment are all insufficient to prove a constitutional vio-

lation.” Ruiz-Rosa, 485 F.3d at 156, citing Feeney, 464 F.3d at 161-62. The undis-

puted facts, given all permissible inferences in the light most favorable to the plain-

tiff, simply do not and cannot demonstrate that Couture was both “aware of facts

from which the inference could be drawn that a substantial risk of serious harm ex-

ists,” that she in fact drew this inference, and that in doing so, Couture intentional-

ly denied or delayed access to medical care. Burrell, 307 F.3d at 8 (1st Cir. 2002)

(quoting Farmer, 511 U.S. at 837, (1994)). See Kosilek, 774 F.3d at 83. Nor can the

plaintiff proffer “evidence that the failure in treatment was purposeful.” Id. (em-

phasis added). Absent facts which establish the foregoing, Plaintiff’s claim of delib-

erate indifference cannot proceed.

          c. Barrett and Couture are entitled to qualified immunity.

      Barrett and Couture are entitled to qualified immunity because the evidence

is insufficient for a reasonable jury to find that either of these WCC staff violated

Madelyn’s clearly established rights. The doctrine of qualified immunity shields



                                           13
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 15 of 37




“[g]overnment officials performing discretionary functions . . . from liability for civil

damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982). The test for

the applicability of qualified immunity consists of two prongs: “(1) whether the facts

alleged or shown by the plaintiff make out a violation of a constitutional right, and

(2) if so, whether the right was ‘clearly established’ at the time of the defendant’s

alleged violation.” Maldonado v. Fontanes, 568 F.3d 263, 268-269 (1st Cir. 2009).

         For purposes of this motion, HCSD defendants concede that “[i]t is clearly es-

tablished . . . that jail officials violate the due process rights of their detainees if

they exhibit a deliberate indifference to the medical needs of the detainees . . . .” Id.

"To demonstrate deliberate indifference a plaintiff must show (1) a grave risk of

harm, (2) the defendant's actual or constructive knowledge of that risk, and (3) his

failure to take easily available measures to address the risk." Penn v. Escorsio, 764

F.3d 102, 110 (1st Cir. 2014) citing Camilo-Robles v. Hoyos, 151 F.3d 1, 7 (1st Cir.

1998).

         Although the right the plaintiff alleges is clearly established, to

avoid qualified immunity the bounds and contours of a violation of that right must

also be sufficiently clear such that no reasonable official could believe anything oth-

er than that the conduct of Barrett and Couture at the time constituted deliberate

indifference and therefore a violation of Madelyn’s constitutional right. Qualified

immunity ”protects all but the plainly incompetent or those who knowingly violate



                                             14
        Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 16 of 37




the law.” Ashcroft v. al-Kidd, 563 U.S. 731 (2011) (internal quotation marks and ci-

tations omitted). If any reasonable official could reasonably have believed, on the

basis of the facts known at the time, “that no violation existed,” the defendant offi-

cial is entitled to immunity. Dirrane v. Brookline Police Dep’t, 315 F.3d 65, 69 (1st

Cir. 2002). Under this standard, the question is whether any reasonable official in

the position of each of the defendants at the time would have reasonably believed

that “[her] actions, or willful failure to act, amounted to ‘deliberate indifference’ to

the serious risk” to Madelyn. Bowen, 966 F.2d at 13.

                  i. Barrett was not indifferent to Madelyn’s complaint of chest pain.

        There is simply no evidence to support the contention that any reasonable of-

ficer in Barrett’s position would have known that his or her actions or inactions con-

stituted a violation of Madelyn’s constitutional right. It is undisputed that the WCC

was not informed of any complaints or concerns made by Madelyn prior to her arri-

val at the WCC. (SOF, ¶¶25-32.) The only evidence that Barrett had any knowledge

of Madelyn’s “serious medical condition” was that she selected “yes” to an intake

questionnaire regarding “torso pain” that included “chest”. (SOF, ¶¶34-36.) The

plaintiff claims that in response to this report, Barrett should have asked Madelyn

follow up questions or notified the medical staff that she was experiencing chest

pain.

        Mere failure to perceive a significant risk does not satisfy the knowledge re-

quirement for deliberate indifference unless the risk is so obvious or the “acts or

omissions [are] so dangerous” that a defendant’s knowledge can be inferred. Cortes-



                                            15
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 17 of 37




Quinones v. Jimenez-Nettleship, 842 F.2d 556, 558 (1st Cir. 1988); see Farmer, 511

U.S. at 838, 839, 842; Manarite, 957 F.2d at 956. In the absence of actual

knowledge, plaintiff has not offered any admissible evidence that Madelyn’s risk

was so obvious that the defendants’ knowledge can be inferred.

      Under these circumstances, a reasonable official in the shoes of Barrett would

not believe that her failure to ask follow-up questions or alert the medical depart-

ment to Madelyn’s response to this intake question constituted a violation of her

constitutional right. See Maldonado, 568 F.3d at 269; Bowen, 966 F.2d at 17-18.

                ii. Couture was not indifferent to the report of Madelyn stumbling
                    on the stairs.

      Plaintiff asserts that the Couture’s failure to particularly respond to a report

that Madelyn, moments prior to her arrival in the medical unit, had stumbled and

fell on the stairs constituted deliberate indifference to Madelyn’s serious medical

need. Construing the record in the light most favorable to the plaintiff and assum-

ing that Couture was indeed given this report, the question is whether any reason-

able nurse, under the circumstances, would have known that the failure to provide

follow up care related to the stumble and fall constituted deliberate indifference to

Madelyn’s constitutional right.

      A reasonable nurse under the circumstances here would understand that fol-

lowing up on report of stumble and fall is for the purpose of ensuring inmate health

and safety, but would be unaware that Madelyn had any underlying medical need

related to a reported stumble. Where “[t]he focus is on what the jailers knew and

what they did in response,” Burrell, 307 F.3d at 8, a reasonable nurse under the cir-

                                          16
         Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 18 of 37




cumstances would not have understood that the failure to follow up after a report

that she stumbled and fell on the steps moments earlier violated Madelyn’s consti-

tutional right to adequate medical care. See Lucia, 971 F. Supp. 2d at 165-66 (reach-

ing same conclusion).

         There is no evidence to support a contention or to demonstrate that any rea-

sonable nurse in Couture’s position would have known that her actions or inactions

constituted a violation of Madelyn’s constitutional rights. Plaintiff claims that, in

response to a report that Madelyn had just stumbled and fell on the stairs, Couture

should have taken Madelyn’s vitals, alerted someone of her medical condition, and

documented the encounter. However, just as with Barrett, under these circum-

stances, a reasonable nurse in the shoes of Couture would not believe that her fail-

ure to take vitals, document the encounter, or notify “anyone else” about Madelyn’s

present medical condition constituted a violation of her constitutional

right. See Maldonado, 568 F.3d at 269; Bowen, 966 F.2d at 17-18.

   II.      The HCSD is entitled to Summary Judgment on Count II, brought pursu-
            ant to Title II of the ADA, because this Court lacks subject matter juris-
            diction over the claim.

         Count II of the Amended Complaint alleges that the HCSD violated Made-

lyn’s rights under Title II of the ADA. The United States Supreme Court has con-

sidered the issue of Eleventh Amendment sovereign immunity in the context of a

claim pursuant to Title II of the ADA and set forth the analysis courts must apply,

“on a claim-by-claim basis,” to determine whether a particular claim brought pur-

suant to Title II of the ADA is barred by the Eleventh Amendment. United States v.



                                           17
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 19 of 37




Georgia, 546 U.S. 151, 159 (2006). Applying the analysis set forth in Georgia, the

claims brought against the HCSD in Count II of the Complaint are barred by the

Eleventh Amendment to the United States Constitution and its protection of the

states’ sovereign immunity and, therefore, this Court lacks subject matter jurisdic-

tion as to Count II.

       The Supreme Court’s “step-by-step analysis for Title II claims” set forth in

Georgia requires that this Court

       ‘determine … on a claim-by-claim basis, (1) which aspects of the State’s
       alleged conduct violated Title II; (2) to what extent such misconduct al-
       so violated the Fourteenth Amendment; and (3) insofar as such miscon-
       duct violated Title II but did not violate the Fourteenth Amendment,
       whether Congress’s purported abrogation of sovereign immunity as to
       that class of conduct is nevertheless valid.’

Buchanan v. Maine, 469 F.3d 158, 172 (1st Cir. 2006) (quoting Georgia, 546 U.S. at

159 (2006)). The first step is to determine whether the HCSD’s alleged conduct vio-

lated Title II. Id. “If the State’s conduct does not violate Title II, the court does not

proceed to the next step in the analysis. The claim ends.” Id.

          a. The plaintiff cannot prove that the HCSD violated Title II of the ADA.

       In order to prevail on her Title II claim, the plaintiff must prove that “(1)

[Madelyn was] a ‘qualified individual with a disability’; (2) [s]he was ‘excluded from

participation in, or denied the benefits of a public entity's services, programs, or ac-

tivities or was otherwise discriminated against’; and (3) this exclusion, denial of

benefits, or discrimination was ‘by reason of [her] disability.’” Sosa v. Massachusetts

Dep't of Corr., 80 F.4th 15, 30 (1st Cir. 2023) (quoting Kiman v. N.H. Dep't of Corr.,

451 F.3d 274, 283 (1st Cir. 2006)). “[A] claim under Title II may be premised on one

                                            18
       Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 20 of 37




of three theories of discrimination: (1) intentional discrimination or disparate

treatment; (2) failure to make a reasonable accommodation; (3) disparate impact.”

Id.

       The plaintiff’s claim under Title II of the ADA is grounded in four bases, none

of which are viable on the undisputed facts.2 The plaintiff’s first basis is that HCSD

personnel intentionally discriminated against Madelyn by denying her access to

medical care. (Amend. Compl. ¶106.) (“Because of Madelyn Linsenmeir’s disability,

the Hampden County Sheriff’s Department personnel intentionally discriminated

against her [and] deprived her of the benefits of its medical programs.”) The second

basis is that, because of Madelyn’s disability, HCSD personnel “failed to provide her

with adequate treatment for her medical conditions.” (Id.) The third basis is that,

because of Madelyn’s disability, HCSD personnel were deliberately indifferent to

her serious medical needs.” (Id.) The plaintiff’s fourth basis is that the HCSD failed

to make a reasonable accommodation for Madelyn by providing her with a “medical-

ly adequate detoxification program.” (Amend. Compl. ¶107.) It appears from the

Amended Complaint that the “medically adequate detoxification program” to which

the plaintiff is referring is “opioid replacement therapy, such as methadone.”

(Amend. Compl. ¶64.)

                    i. First basis: The plaintiff cannot prevail on her claim that HCSD
                       intentionally discriminated against Madelyn in violation of Title
                       II of the ADA, by denying her access to medical care.

       The plaintiff alleges that HCSD personnel intentionally discriminated


2 The first three bases appear to be based on “intentional discrimination” theory, while the fourth is
based on the “reasonable accommodation” theory. See Kiman, 451 F.3d, at 283.

                                                  19
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 21 of 37




against Madelyn and deprived her of the benefits of its medical programs (Amend.

Compl. ¶106.) The grounds for this allegation appears to be the allegations that, on

September 30 and October 1, 2018, Madelyn “repeatedly asked WCC staff for medi-

cal attention” due to chest pain and that the staff “told Madelyn that the situation

was her own fault for using drugs” and that “between October 2 and the morning of

October 4, other detainees told WCC staff on multiple occasions that Madelyn was

ill and needed medical attention.” (Amend. Compl. ¶¶70, 75.)

      Accepting these allegations as true, as we must at the summary judgment

stage, the plaintiff still cannot prove, on the undisputed facts, that Madelyn was

denied the benefits of the HCSD’s medical services, as she was seen in the WCC’s

Medical Department on September 30, October 1 and October 2, and there is no ev-

idence that she complained of chest pain in these visits or otherwise requested med-

ical attention and was denied. There is no dispute that Madelyn was seen in the

WCC’s medical department by two different nurses on September 30 and by a third

nurse on October 1 and there is no allegation that Madelyn complained of chest

pain at either of these visits or sought treatment other than the treatment that was

provided. (Amend. Compl. ¶¶68, 69; SOF, ¶¶44, 67, 79.) There is no dispute that

Madelyn was seen in the WCC’s Medical Department on October 2 and there is no

evidence that Madelyn requested any care other than that which was provided.

(SOF, ¶¶93-115 and cited video evidence.) The undisputed facts also demonstrate

that Madelyn had significant opportunities to raise her need for medical care with

others, both inside and outside the WCC, on September 30, October 1, and October



                                          20
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 22 of 37




3, and did not do so. (SOF, ¶¶24-28, 68-78, 116-119.)

      To prevail on a claim under Title II of the ADA, it is not enough for the plain-

tiff to prove that, in isolated instances certain, unidentified WCC staff responded

inappropriately to requests for medical care and did not send Madelyn to the Medi-

cal Department at the time of the request. In order to obtain relief under Title II of

the ADA, the plaintiff must prove that Madelyn was “excluded from participating in

or denied the benefits” of the WCC’s medical services. Parker v. Universidad de

P.R., 225 F.3d 1, 5 (1st Cir. 2000). The plaintiff cannot prove liability on the part of

the HCSD under Title II of the ADA where the HCSD provided meaningful access to

the HCSD medical programs and there is no evidence that there was any discrimi-

natory motivation on the part of the HCSD. See Nunes v. Mass. Dep’t of Corr., 766

F.3d 136, 145-146 (1st Cir. 2014) (Where department still provided meaningful ac-

cess to medications and no evidence of intent by department to impose burden on

plaintiffs because of disability, summary judgment for defendant affirmed.) The un-

disputed facts demonstrate that Madelyn had regular, meaningful access to medical

services at the WCC and many opportunities to raise her complaints of chest pain

with medical staff (and others). There is no evidence that the HCSD harbored any

discriminatory motive.

                ii. Second basis: The plaintiff cannot prevail on her claim that the
                    medical treatment Madelyn received at the HCSD was so inade-
                    quate that it violated Title II of the ADA.

      Medical care in the correctional setting does fall within the coverage of the

ADA. Kiman v. N.H. Dep’t of Corr., 451 F.3d 274, 284 (1st Cir 2006). However,



                                           21
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 23 of 37




“there is a limited basis for a challenge to medical treatment decisions if and only if

the challenge is framed within a larger theory of disability discrimination.” Bu-

chanan, 469 F.3d at 176. The First Circuit has described two situations in which a

challenge based on a treatment decision might be made:

      (1) the treatment decision was so unreasonable as to be arbitrary and
      capricious, raising an implication of pretext for some discriminatory
      motive, and (2) if not pretextual, the treatment decision was based on
      stereotypes of the disabled rather than an individualized inquiry as to
      the plaintiff’s conditions.

Id. citing Kiman, 451 F.3d at 284-85. The plaintiff cannot prevail in either scenario.

                       1. The plaintiff cannot prove that the medical care provided
                          to Madelyn was arbitrary and capricious.

      In the Amended Complaint, the plaintiff correctly alleges that Madelyn was

an inmate at the WCC for a period of less than four full days, arriving on September

30, 2018 and leaving via ambulance for Baystate Medical Center on the morning of

October 4, 2018. (Amend. Compl. ¶¶62, 77-78.) It is undisputed that, during this

short time at the WCC, Madelyn received extensive medical attention.

      On September 30, 2018, immediately after completing the booking process,

Barrett escorted Madelyn to the WCC’s Medical Department, where two registered

nurses, Jennifer Wisnaskas and Couture, conducted an exhaustive medical screen-

ing of Madelyn. (SOF, ¶¶43-67.) Among other things, this medical screening includ-

ed inquiry into Madelyn’s substance use and withdrawal status, in response to

which Madelyn reported use of both alcohol and heroin; inquiry to determine

whether Madelyn was actively withdrawing from alcohol or opiates (SOF, ¶¶46, 48-

51); inquiry into any cardiac problems or breathing difficulties (SOF, ¶47); inquiry

                                          22
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 24 of 37




into Madelyn’s right knee pain, examination of the knee, and treatment of that pain

with ice and Motrin, in response to Madelyn’s report that the pain was the result of

an injury (SOF, ¶¶52-54); a complete check of Madelyn’s vital signs, including her

temperature (98.2 degrees) and blood pressure (100/80) (SOF, ¶56); and inquiry into

whether Madelyn had any acute or chronic health problems or a history of chronic

fever, cough, weight loss, or loss of appetite (SOF, ¶¶57-58).

      In light of Madelyn’s report of heavy alcohol use, WCC medical staff ordered

that she be placed on the WCC’s alcohol withdrawal protocol, which treated the

more dangerous potential for alcohol withdrawal, while also providing benefits if

Madelyn experienced withdrawal from opioids. (SOF, ¶¶60-63.) The alcohol with-

drawal protocol included treating withdrawal with Vitamin B and pharmacological-

ly with Librium and Couture obtained the appropriate orders to start Madelyn on a

Librium taper, with a decreasing dosage over an eight-day period and a stat dose in

the Medical Department that day. (SOF, ¶¶60-66.) There is no allegation or evi-

dence that Madelyn complained to Wisnaskas or Couture about chest pain, despite

ample opportunity to do so. (SOF, ¶67.)

      On October 1, after returning from Court, Madelyn was again seen by a nurse

in the WCC’s Medical Department to have her tuberculosis test planted. (SOF,

¶¶79-86.) There is no allegation or evidence that Madelyn complained to the nurse

about chest pain or requested any other medical care, despite the opportunity to do

so. (SOF, ¶83.)

      As already detailed above, on October 2, Madelyn was again seen in the



                                          23
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 25 of 37




WCC’s Medical Department, this time by two nurses, Alexandra Russ and Couture,

and the entire encounter was recorded on security video. (SOF, ¶93-115.) As also

detailed above, there is nothing about Madelyn’s demeanor on the video to suggest

that she is communicating a serious medical need while in the Medical Department.

(SOF, ¶101.) With a full video record of Madelyn’s entire visit to the Medical De-

partment on October 2, there is simply no evidence that Madelyn reported chest

pain or otherwise requested medical care and was denied. (SOF, ¶¶101-114.) Made-

lyn visited the Medical Department on October 2 to provide a urine sample for an

STD test and the evidence demonstrates only that WCC medical staff provided

Madelyn with the appropriate care on that date and that she returned to her hous-

ing unit in no apparent distress. (SOF, ¶¶87, 93-115.)

      On the morning of October 4, 2018, two WCC nurses visited Madelyn’s hous-

ing unit to check on the well-being of two other inmates. (SOF, ¶120.) The nurses

quickly discovered that Madelyn was in medical distress, immediately called for an

ambulance and then provided continued care to Madelyn until paramedics arrived

and she was transported to the hospital via ambulance. (SOF, ¶122-124.)

      The plaintiff cannot prevail on her claim that the treatment decisions made

by medical staff were so unreasonable as to be arbitrary and capricious. To the con-

trary, the undisputed facts demonstrate that the treatment decisions of the WCC

medical staff, including the established withdrawal protocols already in place to

treat inmates with substance use disorder (SOF, ¶¶60-66, 127-131), the correct di-

agnosis of opioid use disorder (SOF, ¶¶46, 50-51), the daily administration of drugs



                                         24
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 26 of 37




to address potential withdrawal (SOF, ¶¶63, 65-66), the recognition of Madelyn’s

medical emergency and immediate call for an ambulance and hospitalization (SOF,

¶¶120-124) were all made based on regular and accurate assessments of Madelyn’s

specific condition and the specific attention that the WCC medical staff paid to the

particular needs of inmates with substance use disorder.

      The Court has the benefit of documentary and video evidence and deposition

testimony produced through the extensive discovery in this case. The documentary

evidence demonstrates that the medical care that Madelyn received, especially med-

ication provided proactively to keep her out of withdrawal, was thoroughly reasona-

ble based on how she presented, what she reported, and what she did not report

(e.g. chest pain) at her intake medical screening. (SOF, ¶¶49, 51, 60-67.) The video

evidence demonstrates that Madelyn continued to actively move about within the

WCC and participate in programs through October 3, 2018, providing a reasonable

explanation for why Madelyn was not sent to the hospital sooner. (SOF, ¶¶39, 42,

83, 86-89, 93-119.) The deposition testimony demonstrates that Madelyn had many

opportunities to report that she was in medical distress, to medical staff, a fellow

detainee, and her lawyer, and she did not do so. (SOF, ¶¶25-28, 37, 47, 57, 67-78.)

      The plaintiff cannot produce evidence to support her position that WCC med-

ical personnel failed or refused treatment to address Madelyn’s alleged chest pain or

difficulty breathing. (Amend. Compl. ¶76.) There is no evidence that Madelyn ever

raised these complaints with medical staff, even though she was in the Medical De-

partment three different times over less than four days. (SOF, ¶¶67, 79, 83, 99-114.)



                                          25
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 27 of 37




      In light of this undisputed evidence, the plaintiff cannot establish that the

treatment Madelyn received, including the fact that she was not sent to the hospital

until the morning of September 4, 2018, was “so unreasonable as to be arbitrary

and capricious.” Buchanan, 469 F.3d at 176, citing Kiman, 451 F.3d at 284-85.

      Instead, it seems clear that the plaintiff’s actual position, expressly or im-

pliedly repeated throughout the Amended Complaint, is not that there was no med-

ical treatment, but that the medical treatment that was indisputably provided to

Madelyn at the WCC was inappropriate or inadequate (see e.g. Amend. Compl.,

¶¶64, 69, 74, 76. Even if this claim was supported by the evidence, it is not actiona-

ble under the ADA. Kiman, 451 F.3d at 284 (quoting Bryant v. Madigan, 84 F.3d

246, 249 (7th Cir. 1996)) (“[t]he ADA does not create a remedy for medical malprac-

tice.”) See also Buchanan, 469 F.3d 158, 172 (“the ADA does not set a standard of

care for services”) (citing Cercpac v. Health & Hosps. Corp., 147 F.3d 165, 168 (2d

Cir. 1998).

                       2. The plaintiff cannot prove that the treatment decisions
                          made with regard to Madelyn’s care were based on stereo-
                          types of those with substance use disorder.

      Likewise, there is no evidence that the treatment decisions with regard to

Madelyn’s care were made on stereotypes of people with substance use disorder.

The exhaustive intake screening conducted on October 1, and the resulting medical

treatment, were obviously based on a detailed inquiry into Madelyn’s condition on

that date. (SOF, ¶¶44-67.) The treatment decisions made on October 4, including

the decision to send Madelyn to the hospital immediately via ambulance, were obvi-



                                          26
       Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 28 of 37




ously based on an individualized inquiry into her condition by the two nurses, Belle-

Isle and Neill. (SOF, ¶¶120-124.)

       The treatment decisions made on October 1 and 2, were routine medical test-

ing procedures, based on the need to determine if Madelyn had any communicable

diseases, and not a stereotype. (SOF, ¶¶79, 87.) There is no evidence that the deci-

sion not to provide any additional treatment at these routine visits was based on a

stereotype of those with substance use disorder.

                  iii. Third basis: The plaintiff cannot prevail on her claim of deliber-
                       ate indifference to a serious medical need.

       The plaintiff also cannot prevail on her apparent position that the HCSD

staff “were deliberately indifferent to [Madelyn’s] serious medical needs” (Amend.

Compl., ¶106) and that this deliberate indifference creates a claim under Title II of

the ADA. This allegation raises two questions that remain open questions in the

First Circuit: 1) “whether a public entity can be held liable for money damages un-

der Title II of the ADA based on the conduct of [an employee who is not involved in

policymaking]” and 2) “whether a showing of deliberate indifference is enough to

support recovery of money damages under Title II.” Gray v. Cummings, 917 F.3d 1,

16-17, n.9. In Gray, the First Circuit declined to answer either of these questions.

Id. at 18. For the plaintiff’s claim to survive summary judgment on this basis, this

Court would have to answer both questions in the affirmative.3 This Court should

not do so for three reasons.

       First, with regard to Barrett and Couture, as set forth above, the plaintiff

3
 There is no evidence that either Barrett, Couture, or the unidentified “WCC staff” held policymak-
ing positions with the HCSD. (See Amend. Compl. ¶¶ 70, 75.)

                                                 27
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 29 of 37




cannot prove that either Barrett or Couture was deliberately indifferent to Made-

lyn’s serious medical needs. Second, with regard to the unidentified “WCC staff,”

the plaintiff has not provided any identifying information regarding these individu-

als. (See Amend. Compl. ¶¶ 70, 75.) Finally, as also set forth above, it is undisputed

that Madelyn was in the WCC Medical Department three out of the less than four

days that she was at the WCC and there is no evidence that Madelyn made any

complaints in these visits, other than the complaints or conditions for which she re-

ceived medical treatment (knee pain and withdrawal). For the foregoing reasons,

this Court should decline to find liability under Title II on the part of the HCSD on

the basis of the plaintiff’s deliberate indifference claim (Amend. Compl. ¶106).

               iv. Fourth basis: The plaintiff cannot prevail on her claim that the
                   HCSD failed to provide a reasonable accommodation to Made-
                   lyn.

      The plaintiff alleges that the WCC’s “standard practice and procedure” was to

“force” inmates into withdrawal rather than providing them with medically appro-

priate care. (Amend. Compl, ¶¶64, 65.) It is undisputed that, when Madeline was an

inmate at the WCC, the WCC maintained detailed withdrawal regimens to address

different health situations. (SOF, ¶¶60-63, 127-131.) Among these was the “Opiates:

Withdrawal” Nursing Protocol, which provides for the administration of buprenor-

phine, a Medically Assisted Treatment (MAT) medication, to alleviate the with-

drawal symptoms of any patient withdrawing from opioids, even if the patient is not

already prescribed MAT, if the patient was exhibiting moderate or greater with-

drawal symptoms or there were other reasons to recommend treatment. (SOF,



                                          28
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 30 of 37




¶¶128-129.) Therefore, the plaintiff cannot establish, on the undisputed facts, that

it was the WCC’s standard practice to force detainees into withdrawal. Therefore,

the plaintiff’s fourth basis, the HCSD’s alleged failure to provide reasonable ac-

commodation, must fail because no accommodation was necessary.

       The plaintiff also cannot prevail on the reasonable accommodation claim be-

cause there is no allegation that Madelyn (or anyone acting on her behalf) ever re-

quested that she be placed on methadone. “[T]he ADA’s reasonable accommodation

requirement usually does not apply unless triggered by a request.” Kiman, 451

F.3d at 283 quoting Reed v. LePage Bakeries, Inc., 244 F.3d 254, 261 (1st Cir 2001).

The only exception to this is a situation where the need for the accommodation is

obvious. Id. The plaintiff cannot claim that, in this case, the need was obvious. In-

deed, the plaintiff’s position is that Madelyn reported to unidentified staff that she

was not suffering from withdrawal. (Amend. Compl. ¶70.)

      For all the foregoing reasons, the allegations in the Amended Complaint

make out, at best, a claim for medical malpractice, and certainly do not support a

claim under Title II of the ADA. Without a valid claim under Title II of the ADA,

“the court does not proceed to the next step in the analysis. The claim ends.” Bu-

chanan, 469 F.3d at 172 (citing Toledo, 454 F.3d at 31-40).

          b. Even if this Court were to find a valid claim here pursuant to Title II,
             this Court would still lack subject matter jurisdiction to hear the claim
             due to the Commonwealth’s sovereign immunity.

      Under the Supreme Court’s required analysis, even if this Court were to find

that the HCSD violated Title II, this Court would then have to determine whether



                                          29
          Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 31 of 37




the misconduct also violated the Fourteenth Amendment or, if it did not, “whether

Congress’s abrogation of sovereign immunity as to that class of conduct is neverthe-

less valid.” Georgia, 546 U.S. at 159.

                          i. The Complaint does not state a claim for a violation of the
                             Eighth Amendment prohibition on cruel and unusual pun-
                             ishment through deliberate indifference.

          The first of these two questions is answered easily in the negative. In a case

such as this, alleging inadequate medical care in the context of a correctional insti-

tution, the plaintiff could only make out a constitutional claim for violation of the

Fourteenth Amendment by stating a valid claim for violation of the Eighth Amend-

ment prohibition of cruel and unusual punishment through deliberate indifference

to a serious medical need. See Georgia, 546 U.S. at 157 (citing Louisiana ex rel.

Francis v. Resweber, 329 U.S. 459, 463 (1947) (the Due Process Clause of the Four-

teenth Amendment incorporates the Eighth Amendment’s guarantee against cruel

and unusual punishment)). As already explained above, and in more detail in this

section, the plaintiff’s allegations of regular medical treatment provided to Madelyn

defeats any claim for deliberate indifference and so the plaintiff cannot make out a

constitutional violation.4

        The Eighth Amendment’s prohibition against cruel and unusual punishment

includes an inmate’s right to adequate medical care. See Farmer v. Brennan, 511

U.S. 825, 832 (1994). In order for an inmate to establish that her right to adequate

medical care has been violated, however, the inmate must allege “acts or omissions

sufficiently harmful to evidence deliberate indifference to serious medical needs.”

4
    See also the discussion of the Sec. 1983 claims against Barrett and Couture, above.

                                                    30
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 32 of 37




Estelle, 429 U.S. at 103-04; see also Ruiz-Rosa, 485 F.3d at 156; Torraco v. Maloney,

923 F.2d 231, 234 (1st Cir. 1991).

      In this case, the undisputed facts demonstrate that Madelyn received daily

medical care during her short stay at the WCC, including care specifically targeted

to address her substance use disorder and medical care to address her infection,

once that became apparent. (SOF, ¶¶44, 65-66, 70, 93.) To the extent that the

plaintiff’s allegations could be read as stating, with sufficient specificity, a claim

that the medical care was inadequate or that medical staff did not recognize Made-

lyn’s infection soon enough, those are negligence claims and do not state a constitu-

tional claim under the Eight Amendment.

                    ii. The misconduct alleged in the Complaint is not of the type
                        that would validate the abrogation of sovereign immunity.

      The final consideration, then, is whether the alleged misconduct, even if it

does not violate the Constitution, is of a type that validates “Congress’s purported

abrogation of sovereign immunity as to that class of conduct.” Georgia, 546 U.S. at

159. The Supreme Court has held that Title II of the ADA validly abrogates sover-

eign immunity as to … some classes of state conduct that do not facially violate the

Constitution but are prohibited by Title II in order to prevent and deter unconstitu-

tional conduct.’” Toledo, 454 F.3d at 31 (quoting Tennessee v. Lane, 541 U.S. 509,

518, 529 (2004)).

      The analysis of whether the state conduct challenged in this instance validly

abrogates sovereign immunity involves a three-pronged inquiry:

             (1) [F]irst, the court must identify with some precision the scope

                                            31
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 33 of 37




             of the constitutional right at issue, (2) second, the court must de-
             termine whether Congress identified a history and pattern of
             unconstitutional conduct by the states with respect to that right,
             and (3) third, the legislation must be a congruent and propor-
             tional response to [the] history and pattern of unconstitutional
             discrimination.

Cox v. Mass. Dep’t of Corr., 2018 U.S. Dist. LEXIS 55482, *26-*27 (D. Mass. 2018)

(quoting Bd. Of Trustees of Univ. of Ala. V. Garrett, 531 U.S. 356, 365 (2001) and

Toledo, 454 F.3d at 39 (internal citations and quotation marks omitted)).

      In the context of prison medical care, the first two prongs have been identi-

fied as satisfied, with the first prong identifying the constitutional right at issue as

being the Eighth Amendment right of inmates to be free from deliberate indiffer-

ence by prison officials to their serious medical needs. Cox, 2018 U.S. Dist. LEXIS

55482 at 36-37. For the purposes of this motion, the HCSD defendants adopt that

position and focus on the third prong of the analysis, which requires a determina-

tion of whether the proposed remedy is “a congruent and proportional response to

the history and pattern of unconstitutional discrimination.” Id. at 37.

      In order to answer this question, we must first determine what the plaintiff’s

proposed remedy is, or what behavior of the HCSD the plaintiff alleges must be pro-

scribed in order to prevent or deter unconstitutional conduct. Due to the vague and

conclusory language of the Amended Complaint, answering this question is not an

easy task. Reading the Amended Complaint generously, however, it would appear

that the conduct the plaintiff seeks to proscribe through the Title II claim can be

identified as the two bases for the Title II claim, as already set forth above: 1) the

allegedly inadequate medical care provided to Madelyn at the WCC (Amend. Compl.

                                           32
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 34 of 37




¶106), and 2) the alleged failure by the HCSD to make a reasonable accommodation

for Madelyn by providing her with a “medically adequate detoxification program”

(Amend. Compl. ¶107). Neither of these is a congruent or proportional response to

unconstitutional, deliberate indifference to serious medical needs. The first, at best,

will deter the tort of medical negligence, not prevent unconstitutional deliberate in-

difference to serious medical needs. The second will promote medically adequate

detoxification programs over medically inadequate programs. Once again, this is, at

best, an effort to deter medical negligence, not deliberate indifference. Therefore,

these are not responses, at all, to unconstitutional conduct, much less congruent re-

sponses. The HCSD is entitled to summary judgment on Count II because this

Court lacks subject matter jurisdiction to consider the claim and because the plain-

tiff cannot, on the undisputed facts, prevail on her Title II claim.

   III.      Barrett and Couture are entitled to Summary Judgment on Count IV, al-
             leging a claim under the Massachusetts Wrongful Death Statute.

             a. The plaintiff cannot prove that Barrett and Couture intentionally
                caused Madelyn’s death.

          The allegation of wrongful death in the Amended Complaint distinguishes it

from the typical, negligence-based claim: “The defendants caused Madelyn Lin-

senmeir’s death by intentional acts.” (Amend. Compl. ¶119.) The named defendants,

as with the deliberate indifference count (Count III), are Barrett and Couture. It

would seem this sparsely worded count alleges essentially the same allegations as

Count III, i.e. that Barrett deliberately failed to follow up promptly on Madelyn’s

complaint of chest pain and that Couture failed to take Madelyn’s vitals after learn-



                                            33
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 35 of 37




ing that she had stumbled on the stairs. Count IV, as against Barrett and Couture,

fails for the same reasons that Count III fails, as explained above.

          b. Barrett and Couture are entitled to good faith immunity.

      Even if this Court were to conclude that the wrongful death count (to the ex-

tent that it sounds in tort) sets forth actionable claim, it is nonetheless barred by

the individual defendants’ good faith immunity from common law tort claims. It is

well-settled in Massachusetts that a public official who makes an erroneous decision

while acting within the scope of his authority cannot be held personally liable for

damages. Gildea v. Ellershaw, 363 Mass. 800, 820 (1973). In order for this common

law immunity to apply, a defendant need only have been authorized, in the exercise

of judgment and discretion, “to make a decision and to perform acts in the making

of that decision.” Gildea, 363 Mass. at 820. If so, the defendant’s decision and act

must have been “within the scope of his duty, authority, and jurisdiction.” Id. If

these conditions are met, a defendant is not liable for “negligence or other error in

the making of that decision.” Id. To overcome the immunity, a plaintiff must allege

and prove that the official acted with “malice or corruption.” Id.

      Subsequent cases have dictated that a public employee’s good faith should be

presumed and evaluated generously. “The question whether the evidence supported

a cause of action under the Gildea exception must be considered in the light of the

principle…that there is every presumption in favor of the honesty and sufficiency of

the motives actuating public officers in actions ostensibly taken for the general wel-




                                           34
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 36 of 37




fare.” Ramos v. Board of Selectmen of Nantucket, 16 Mass.App.Ct. 308, 314 (1983),

rev. denied 390 Mass. 1103 (1983) (internal citations and quotations omitted).

      Gildea immunity may only be defeated by allegations of malice or corruption.

363 Mass. at 820. “One acts with actual malice when moved by ‘a spiteful, malig-

nant purpose’ that is unrelated to a legitimate interest.’” Anzalone v. Admin. Office

of Trial Court, 457 Mass. 647, 660 (2010). The plaintiff does not allege in the

Amended Complaint that either Barrett or Couture acted with malice. Indeed, the

video evidence of Barrett’s and Couture’s encounters with Madelyn ensures that no

reasonable jury could find that either acted with malice toward Madelyn. (SOF,

¶¶39, 87.)

      Barrett and Couture are entitled to common law qualified immunity with re-

gard to the Wrongful Death claim and they are entitled to summary judgment in

their favor on Count IV.

                                   CONCLUSION

      For the foregoing reasons, the defendants, Hampden County Sheriff’s De-

partment, Eileen Barrett, and Maureen Couture, respectfully move this Court to

enter Summary Judgment in their favor on Counts II, III, and IV.

                                        Respectfully submitted,
                                        HAMPDEN COUNTY SHERIFF’S DE-
                                        PARTMENT, EILEEN BARRETT, AND
                                        MAUREEN COUTURE

                                        By their attorney,
                                        ANDREA CAMPBELL
                                        ATTORNEY GENERAL

                                        By: /s/ Thomas E. Day

                                          35
      Case 3:20-cv-30036-MGM Document 173 Filed 01/06/24 Page 37 of 37




                                        Thomas E. Day
                                        Special Assistant Attorney General
                                        BBO #655409
                                        Lauren F. Olanoff
                                        BBO #669371
                                        Michael G. McDonough
                                        BBO #682128
                                        EGAN, FLANAGAN AND COHEN, P.C.
                                        67 Market Street
                                        P.O. Box 9035
                                        Springfield, MA 01102-9035
                                        (413) 737-0260
                                        ted@efclaw.com
                                        lfo@efclaw.com
                                        mgm@efclaw.com



                            CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies of this document will be mailed, first-class mail,
postage prepaid, to any unregistered participants on January 6, 2024.

                                               /s/ Thomas E. Day
                                               Thomas E. Day




                                          36
